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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL


 LETITIA JAMES                                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                          LITIGATION BUREAU




                                             Writer Direct: 518-776-2255

                                                  September 20, 2019


    Honorable Christian F. Hummel
    United States District Court
    Northern District of New York
    James T. Foley U.S. Courthouse
    445 Broadway, Room 441
    Albany, NY 12207

    Re:     NRA v. Cuomo, et al
            Northern District of New York
            18-CV-566 (TJM)(CFH)

    Dear Judge Hummel:

            I write pursuant to the Court’s Order at Dkt. 121 and relative to the Defendants’
    production of material for the Court’s in camera review. The subject material, together with a
    privilege log, is being provided to the Court contemporaneously with this letter, which is being
    filed on the Court’s ECF system to reflect the Defendants’ compliance with the Court’s Order.

            It should be noted that in the course of compiling these documents Defendants
    determined that there are no documents reflecting communications between the Defendants and
    financial institutions/insurers doing business with the NRA [Dkt. 121 at pg. 47], aside from
    communications by and between DFS, Lockton, Chubb and Lloyds, in the course of DFS’
    investigation of said entities, and the correspondence that has already been provided to the
    Plaintiff in the Defendants’ discovery responses.

            Lastly, in a good faith effort to comply with the Court’s Order as it relates to
    communications between the Defendants about the current litigation, documents and emails were
    identified that consist of communications between the Defendants and this Office as the
    Defendants’ litigation counsel. These communications have not been produced as they seem to
    clearly be outside the scope of any proper discovery demand, and the scope of the Court’s Order.


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      The Court’s continued attention to this matter is appreciated.

                                                   Respectfully yours,

                                                   s/ William A. Scott

                                                   William A. Scott
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